Case 2:07-md-01873-KDE-MBN Document 14524-1 Filed 06/23/10 Page 1 of 9

EXHIBIT A
Internd-P@nt/ECF Ie DhtaedéDE-MBN Document 14524-1 Filed 06/23/10 Page 2Ragé 1 of 2

United States Bankruptcy Court
District of Delaware

Notice of Bankruptcy Case Filing

A bankruptcy case concerning the debtor(s) listed
below was filed under Chapter 11 of the United
States Bankruptcy Code, entered on 11/15/2009 at
8:16 PM and filed on 11/15/2009.

Redman Homes, Inc.
755 W. Big Beaver

Suite 1000

Troy, MI 48084

Tax ID / EIN: XX-XXXXXXX

The case was filed by the debtor's attorney:

Laura Davis Jones

Pachulski Stang Ziehl & Jones LLP
919 N. Market Street

17th Floor

Wilmington, DE 19899-8705

usa

302 652-4100

The case was assigned case number 09-14018-KG to Judge Kevin Gross.

In most instances, the filing of the bankruptcy case automatically stays certain collection and other
actions against the debtor and the debtor's property. Under certain circumstances, the stay may be
limited to 30 days or not exist at all, although the debtor can request the court to extend or impose a stay.
If you attempt to collect a debt or take other action in violation of the Bankruptcy Code, you may be
penalized. Consult a lawyer to determine your rights in this case.

If you would like to view the bankruptcy petition and other documents filed by the debtor, they are
available at our Internet home page www.deb.uscourts.gov or at the Clerk's Office, 824 Market Street,
3rd Floor, Wilmington, DE 19801.

You may be a creditor of the debtor. If so, you will receive an additional notice from the court setting
forth important deadlines.

David D. Bird
Clerk, U.S. Bankruptcy

https://ecf.deb.uscourts.gov/cgi-bin/NoticeOfFiling.pl?121946 6/22/2010
Interne @R4/ BOF OME PLRRYSDE-MBN Document 14524-1 Filed 06/23/10 Page 3 Page 2 of 2

Court
PACER Service Center
| Transaction Receipt |
| 06/22/2010 11:34:34 |
[PACER Login: ||ps0038 [Client Code: |
[Description: __ |[Notice of Filing |[Search Criteria: |[09-14018-KG |
[Billable Pages: W/1 l|Cost: l/0.08

https://ecf.deb.uscourts.gov/cgi-bin/NoticeOfFiling.p1?121946

6/22/2010
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oo (69-418

B 1 (Official Form 1) (108)
United States Bankruptcy Court

District:of Delaware
Name of Debtor (if individual, enter Last, First, Middle): Name of Joint Debtor = Genes) ast Fiat, Mahle
Redman Homes, Inc.
All Other Names used by the Debtor in the lest 8 years All Other Narnes used by the Joint Debtor in the last 8 years
finchide maried, maiden, and trade names): (inetude married, maidon, and trade narnes):
see attached Schedule 2 _
Cast four digits of Soc. Sec. or Individual-Taxpayer 1.D. (FTIN) No/#Complete EIN Last four digits of Soc. Sec, or Individusl- Taxpayer LD, (ITIN) No/Compleie EIN
Gf more than one, state all); 75~1364957 (if more than one, siate all):
Street Address of Debtor (No. and Strort, City, and Stare): Sweet Address of Joint Debtor (No. anid Sireet, City, and State}:
755 W. Big Beaver, Ste, 1000, Troy, MI

_ |zsp cove 48084 | [zie cope l
County of Residence or of the Principal Place of Business: County of Residence or of the Principal Place of Business:
Oakland County, MI
Mailing Address af Debtor (if different from street address): - Mailing Address of Joint Debtor (if different from street address);

same as mailing address

|ZIP CODE | [zr cove }

Location of Principal Assets of Business Debtor (if differen! from street addreas above):
[ze CODE ]

Type of Debtér Nature of Business Chapter of Bankruptcy Code Under Which
(Form of Organization} (Check one bow.) the Petition is Fitod (Check one box.)
(Check one box.) Hestth Care Business H Chapter 7 £71 chapter 15 Petition for
[} individual Gactudey Joint Detiors) Single Asset Real Estate as defiried in Chapter 9 Recognition of a Foreign
See. Exhibit B on pape 2-47 this Jorn US: €.§ 10ST BY BG Chapter 11 Main Procecding
Ba] Corporation (includes LLC and LLP) Railroed Coinpier 12 EE) Chapter 15 Petition for
|] Pastsiefship. Stockbroker H Chapter 13 Recognition ofa Foreign
LJ Other (iF dcbtor‘is not onc of the above entities, Commodity Broker 5
* dteck this box and state type of entity below.) Clearing Bank Natore of Debts
Other factory built housing {Check one box.)
. O Debts are primarily consumer, ® Debts are primarily
Tax-Exempt Entity debts defined in #1 U.S.C. business debis
(Chock box. if applicable.) § 101(8) as “incurred by an
(C1 Debtor is 9 tax-exempt organization individual primarily for a
under Title 26-0f the United States personal; femily, or house-hold
Code {the Interyal Revenue Code). purpose.
Filing Fee (Check one box.) Chapter {1 Debtors
oS Check ong box:
23 Full Fiting Fee aneched. [7] Debtor is arsmall business debtor as dofined in 1 U.S.C. § 1011510).
[} Fitting Fee to be patd in installments (applicable to individuels onty), Must attach Deblor is hor «:small business debtor as defined in 19 U.S.C. § 101(51D).
signed application for the court's consideration certifying that the debior is Cheek if:

unable to pay fee except in installments. Rule 1006(b), See Official Fonn 3A. QO Debtor's aggregate liquidated debts (exchiding dcbis owed to
: insiders or affiliates) are less than $ 2, 190,000.

Filing Fee waiver requested (applicable to chapter 7 individvals only). Must
attach signed spplivation for the couri's cunsideration. See Official Fonn 3B, EY all appBenblc boxes:

A plan is being filed with this petition.
Acceptances of the plan were solicited prepetition from one or mare classes

of creditors, in accordance with 11 U.S.C, § 1126(b).

Statistical/Administrative Information aN AON
DX Debtor estimates that funds will be available for distribution to unsecured creditors. TY
Debdior estimsies that, afer any exempt property is excluded and adininistrative expenses paid, there will be no funds available for
distribution to unsecured creditors.

Estimated Namber of Creditors

«kk 0 C
149 50-99 100-199 290-999 1,000. 5,00}- 70,00). 25,001- 50,001. Over

5000_19.006__25,000____ $0,900 100,000____ip0,000

Estimated Assets g o O o Q o
50 to $10,001 to §=—- $100,001 to Foot $1,000,00)} $10,000,001 $50,000.00! PA 000001 $560,000,001 More than
$50,000 = $100,000 $500.000 to$} vo $10 to $50 to $100 to $500 to $1 billion $1 bition

million million million million million
Estinnited Liabilities

0 O C) OQ O x 0 CT)

$0 to $30,001 ta (00,003 1¢ «© $500,00) = $1,600,00) $30,000.00) $50,000,001 + —$100,000.001 $500,000,00) More then
$50.000 = $100,000 $500,000 to$t 10 S10 to $50 to $100 to $500 fo $1 hillion $} billion

million million million million _inilion

American Logalnai, tac,
wow. Forms Workfow.com

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B Official Form 1) (1/08) Page 2
Votuntary Petition Name of Debtor(sk :
(This page musi be conipleied and filed in every case.) Redman Homes, inc.
AN Prior Bankraptey: Cases Flied Within Lest 8 Years (if more than two, attach additional sheet.)
Location . Case Number: Date Filed:
Where Filed: none
Location Case Number: / Date Filed:
Wheie Filed:
Pending Bankruptcy Case Filed by any Spouse, Partner, or-Affiliate of this Debtor (if more than one, anach additional sheet.)
Name of Debtor: Case Number: Date Filed:
see attached Schedule | pending 2009
Disnict: Relationship: Judge:
District of Delaware affiliate pending

Exbibi A “Exhibit B

(To be completed if debtor is required to-file periodic reports (¢.g., forms 10K and (To be completed if debtor is an individual

10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d) _____ hose debis are primarily consumer debs.)

of the Securities Exchange Act of 1934 and i requesting relief under chapter 32.) 1, the attoraey for the petitioner named in the foregoing petition, declare that J
have informed the petitioner that [he or she) may procced under chapter 7. 11,
12, of 13 of tile 11, Untied States Code, and have explainod the relief
available under cach such chapter. } further certify that T have delivered to the
debtor the notice required by 11.U.S.C. § 342(b).

x
oO Exhibit A is attached and made a part of this petition, Signature of Attorney for Debtor(s) (ate)

Exhipit C
Docs the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

(C1 Yes, ond Fixhihit C és artached-and made a part of this petition:

Oo * No.

Exhibit D -
(To be completed by every individual debtor. If'a joint petition is filed, cach spouse. must complete and attach a separate Exhibit D.)
(1) Exhibit D completed and signed by the debtor is attached and made a part of this petition.
If this is a joint petition:

(Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

lofermetion Regirding the Debtor - Venue
«Check ony applicable bax.)
Bd _ Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 duys immediately
preceding the date of this petition or for a longer part of such 180 days than in any other Disiricr.

xX

There is a bankrupicy case conceming debtor's affiliate, general partner. os parinership pending in this District.

QO Debtor is a debtor in a foreign proceeding and has its principal place of business or principal asscts in the United States in this District, or
hus no principal place of business or assets in the United States. but is = deferidant in an action or proceeding [in a fedora} or state coun] in
this District. or the interests of the parties will be served in regard to the relief sought in ihis District.

Certification by a Debtor Who Resides as a Tenant of Residential Property
: {Check all applicable boxes.)

0 Landlord has a judgment ausinst the debtor for possession of deblor’s residence, (If box checked, complete the following.)

(ame of Isndiord that obtsined jude )

{Address of landlord)

O

Debtor cluins that under applicable oonbankruptcy law, there sre circumstances under which the deblor would be permitted to cure the
entire monetary default that gave rise ta the Judginent for possession, afier the judgment for possession was entered, and

DO Debtor hus included with this petition the deposit with the court of sny rent that would become due dusing the 30-day period aficr the
fiting of the petition.

Debtor certifies shat he/she has served the Landlord with this certification, (1) U.S.C. § 3621).

CC

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B ¥ (Official Fonn) 1 (1/08) Page 3
Voluntary Petition Natne of Debtor(s):
(This poge must he completed and filed in every case.) Redman Homes, Inc.
"Signe tures
Stguatares) of Deliter(s) (FadividuaV/Joint) Signature of a Foreign Representative

| declare under penalty of perjury that the information provided in this petition is truc
and conedt.

{If petitioner is an individual whose debis are primarily consumer debis and has
chosen to file under chapicr 7} | am aware tha! | may proceed under chapter 7, 11, 12
or 13 of title 1}, United States Code, understand the relief available under each such
chapter, and choose to proceed under chapter 7,

{lf no attomey represents mé and uo bankrupicy petition proparer signs the petition] |
have obtained and rend the notice required by 1} U.S.C. § 342(b).

¥ request relief in accordance with the chapter of title 11, United States Code,
specified in this petition.

SA

Ideclare under penalty of perjury that the information provided in this petition is tue
and correet, that | am the foreign represcatetive of a debtor in a foreign procecding,
and that 1 am auihorized to file this petition.

{Check only one box.)

[C1 I request retief in accordence with chapter 15 of title 11, United States Code,
Certified copies of the documents required by 1) U.S.C. § 1515 are smached.

(7) Pursuant to 11 U.S.C. § 1591, | request relief in secordance with the
chapter of title 1) specified in this petition. A certified copy of the
order granting recognition of the foreign main proceeding is atteched,

x x
Signanrre of Debtor (Signeture of Forcign Representative)
x :
Signature of Joint Debtor (Printed Name of Forcign Represemative)
Telephono Number (if not represented by attomcy) Date
Signature of Non-Attorney Bankruptcy Potition Frperer
1 dectare under penalty’ of perjury that: (1) 1 am a bankrupicy petition proparer as

Printed Name wt Altorney for Debtor
Pachulski Starig Zieh. & Jones: LLP

Firm Name
919 North Market Street, 17° Floor
Address
P.O, Box 8705
Wilmington, Delaware 19899-8705:
302-652-4100
Telephones
November
Date

*in a case in which § 70%b)(4KD) opplics, this signature also constitutes a

cantifcaton thea he attomey has no knowledge after on inquiry that the information
is the schodul 0

, 2009

debtor,

Signatere of Debtor (Corporation/Partnership)

§ declare under pensity of perjury thai the information provided in this petition is truc
and correct, and that I have been authorized to file this petition on behalf of the

The debior,
Cotte,

x

fief in-e
s petitig

ests
ih

ee with the chapter of title 1t, United States
Signature df Ruthorized Individual

Phyllis night \

Printed Name of Authorized Individixi--”

President and Treasurer

Title of Authorized Individual

November £5, 2009

Dale :

defined in 13 U.S.C. § 130; (2) T prepared this document for compensation and have
provided the debtor with a copy of this doeument.and the notices and information
required under 11 U.S.C. §$ 110), 110(h), and 342(6); and, (3) if mies or
guidelines have been pronmulgaled pursuant to 11 U.S.C. $ 11 0{h) setting & maximunt
fee for services by bankruptcy petition preparers, | have given the debtor
notice of the maxinnm amount before preparing any document for filing for a. debtor
or accepting any fee trom the deblor, as required in that section. Official Form 19 is
antached,

Printed Name avd title, ifany, of Bankruptcy Petition Preparer

Social-Security number (If she bankrupicy petition preparer is not an individual,
state the Social-Security nurnber of the officer, principal, responsible person or

partner of the bankrupicy petition preparer.) (Required by 1} U.S.C. § 110)
Address

x
Dnic.

Siuy of bankruptcy petition preparcr or officer, principal, responsible person, or

partner whose Social-Security number is provided above,

Names and Social-Security numbers of ail other individuals who prepared or assinted
fn preparing this document untéss the bankruptcy petition prey is not an
individual,

If more than one person prepared this document, attach additions! sheets conforming
to the appropriate official form for each person.

A bankruptcy petition prepaecr's failure ta comply wit the provisions of tile Lt aid
the Federal Rules of Bankruptcy Procedure may result in fines or Imprisonment or

both, 1 USC. § HOA USC. ¥ 156,

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Schedule 1

Pending Bankruptcy Cases Filed by the Debtor and Affiliates Thereof

The following affiliated debtors will file chapter 11 petitions in the United States

Bankruptcy Court for the District of Delaware:

Redman Homes, Inc.

Champion Enterprises, Inc.

Champion Home Builders Co.

New Era Building Systems, Inc.

North American Housing Corp.

Homes of Merit, Inc.

Western Homes Corporation

Star Fleet, Inc.

Champion Enterprises Management Corp.
Champion Retail, Inc.

San Jose Advantage Homes, Inc.
‘Highland Acquisition Corp.

Highland Manufacturing Company LLC
SSH Liquidating Corp.

Champion Homes of Boaz, Inc.

Iseman Corp.

HomePride Finance Corp.

MHCDC, LLC

Champion Development Corp.

13814-001\DOCS_DE:153189.1
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U.S. DISTRICT COURT
FOR THE

USDC EASTERN DISTRICT OF LOUISIANA

VIRGINIA HUNTER, et al. ) Case No. 10-1251
)
Plaintiff(s) )
)
VS. )
) ¢
REDMAN HOMES INC. )
(f/k/a Dutch Homes )
)
Defendant(s). )

CERTIFICATE OF SERVICE

»d
I, Timothy P. Cairns , hereby certify that on the /7_day of June, 2010, I caused a
copy of the following document to be served on the individuals on the attached service list in the

manner indicated:

SUGGESTION OF BANKRUPTCY REGARDING CHAMPION
ENTERPRISES, INC.

<.

lol <2

Timothy P* Cairns (DE Bar No. 4228)

13814-001\DOCS_DE:154841.74
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Virginia Hunter, et al. v. Redman Homes Inc. (f/k/a Dutch Homes)
02 — First Class Mail

First Class Mail

(Counsel for Plaintiff)
Robert C. Hilliard, Esquire
Watts Hilliard, LLC

2506 N. Port Avenue
Corpus Christi, TX 78401

First Class Mail

(Counsel for Defense)
Lamont Domingue, Esquire
Voorhies & Labbe

700 St. John Street
Lafayette, LA 70502-3527

13814-001\DOCS_DE:154841.74

